        Case 1:18-cv-01129-EGS Document 39-1 Filed 06/13/19 Page 1 of 1



                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 KNIGHT FIRST AMENDMENT
 INSTITUTE AT COLUMBIA
 UNIVERSITY, AMERICAN CIVIL
 LIBERTIES UNION, AMERICAN CIVIL
 LIBERTIES UNION FOUNDATION
                                                                 Civil Action No. 18-1129 (EGS)
                          Plaintiffs

                 v.

 DEPARTMENT OF DEFENSE et al.

                          Defendants



                                   DECLARATION OF ALEX ABDO

       I, Alex Abdo, a member of the Bar of the State of New York, declare under penalty of

perjury as follows. I am an attorney with the Knight First Amendment Institute at Columbia

University, and I represent the plaintiffs in this matter. I submit this declaration in support of

Plaintiffs’ Reply in Support of Motion for a Processing Schedule or, in the Alternative, a Status

Conference. Attached to this declaration are true and correct copies of the following documents:

               DHS Response Letter (June 3, 2019)............................................ A

               Email from Knight Institute to Counsel for Defendants
               (Aug. 31, 2018)............................................................................ B

               Email from Knight Institute to Counsel for Defendants
               (May 18, 2018) ............................................................................ C



 Dated: June 13, 2019                                    Respectfully submitted,

                                                         /s/ Alex Abdo
                                                         Alex Abdo
